Case 14-13916-JDW              Doc 29      Filed 12/12/14 Entered 12/12/14 09:57:26                       Desc Main
                                           Document     Page 1 of 3
                                               **Amended**
                                          CHAPTER 13 PLAN
                                  UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF MISSISSIPPI               14-13916
                                                                       CASE NO:__________
                                                                  Median Income:   Above  Below
      Ethel Howard Young
Debtor___________________________________           2705 Current Monthly Income $__________
                                          SS#XXX-XX-_________
                                                                                                        1,040.00 [Pension]
                                                        Brother's SSI: $721.00 Disability: $1,053.30
Jt. Debtor________________________________ SS#XXX-XX-_________ Current Monthly Income $__________

       430 North Long Street, Starkville, MS 39759
Address____________________________________________________________                  1
                                                                    No. of Dependents_________

THIS PLAN DOES NOT ALLOW CLAIMS. Creditors must file a proof of claim to be paid under any plan
that may be confirmed. The treatment of ALL secured and priority debts must be provided for in this
plan.

PAYMENT AND LENGTH OF PLAN
                                           60 months, not to be less than 36 months for below median income debtor(s),
The plan period shall be for a period of _______
or less than 60 months for above median income debtor(s).
                     *A*
(A)                         1,190.80 per ( monthly, semi-monthly, week, or bi-weekly) to the Chapter 13
        Debtor shall pay $___________
        Trustee. Unless otherwise ordered by the Court, an Order directing payment shall be issued to Debtor’s
        employer at the following address:
                                                                         Paid Directly by Debtor
                                                                         ___________________________________

                                                                            ___________________________________

                                                                       ___________________________________
(B)    Joint Debtor shall pay $________ per (    monthly,   semi-monthly,     weekly, or   bi-weekly) to the
       Chapter 13 Trustee. Unless otherwise ordered by the Court, an Order directing payment shall be issued to
       Debtor’s employer at the following address:
                                                                      ___________________________________

                                                                           ___________________________________

                                                                    ___________________________________
PRIORITY CREDITORS. Filed claims that are not disallowed to be paid in full or as ordered by the Court as follows:
Internal Revenue Service: $ ___________@$_________ /mo

MS Dept. of Revenue: $_____________@$___________/mo               Other/_______________:
                                                                                           1,502.22 29.04
                                                                        Dept. of Treasury $__________@$______/mo

DOMESTIC SUPPORT OBLIGATIONS. DUE TO:                               _____________________________
                                                                   _____________________________
                                                                   _____________________________
POST PETITION OBLIGATION: In the amount of $___________ per month beginning ________________.
To be paid  direct, through payroll deduction, or through the plan.

PRE-PETITION ARREARAGE: In the amount of $___________ through ______________ which shall be paid in the
amount of $___________________ per month beginning ________________.
To be paid      direct,     through payroll deduction, or         through the plan.

HOME MORTGAGES. All claims secured by real property which are to be paid through the plan shall be scheduled below.
Absent an objection by a party of interest, the plan will be amended consistent with the proof of claim filed herein, subject to
the state date for the continuing monthly mortgage payment proposed herein

MTG PMTS TO: 1st Franklin Financial
             ______________________                             250.00
                                                               Dec. 2014
                                    ____BEGINNING ____________@$_____________                         PLAN     DIRECT

MTG PMTS TO:___________________________BEGINNING ____________@$_____________                         PLAN      DIRECT

MTG PMTS TO:___________________________BEGINNING ____________@$_____________                         PLAN      DIRECT
                    1st Franklin Financial     Nov. 2014 459.65               7.66
MTG ARREARS TO: _______________________ THROUGH______________$______________@$___________/MO

MTG ARREARS TO: _______________________ THROUGH______________$______________@$___________/MO

MTG ARREARS TO: _______________________ THROUGH______________$______________@$___________/MO
                 /s/EHY
Debtor’s Initials __________      Joint Debtor’s Initials __________             CHAPTER 13 PLAN, PAGE 1 OF ______
                                                                                                                  3
   Case 14-13916-JDW                Doc 29    Filed 12/12/14 Entered 12/12/14 09:57:26                       Desc Main
                                              Document     Page 2 of 3
    MORTGAGE CLAIMS TO BE PAID IN FULL OVER PLAN TERM:
             Bank of America
    Creditor:_____________________________________                  $20,924.35
                                                   Approx. amt. due:_____________________           6%
                                                                                          Int. Rate:________
                     430 North Long St., Starkville, MS 39759
    Property Address:___________________________________ Are related taxes and/or insurance escrowed              Yes     No

    Creditor: _____________________________________ Approx. amt. due: ____________________ Int. Rate: ________

    Property Address: __________________________________ Are related taxes and/or insurance escrowed              Yes     No

    NON-MORTGAGE SECURED CLAIMS. Creditors that have filed claims that are not disallowed are to retain lien(s) pursuant
    11 U.S.C. § 1325(a)(5)(B)(i)(I) until the payment of the debt determined as under non-bankruptcy law or discharge. Such
    creditors shall be paid as secured claimants the sum set out below or pursuant to other order of the Court. The portion of the
    claim not paid as secured shall be treated as a general unsecured claim.
                                                           910* APPROX.                  INT.     TOTAL AMT.      MONTHLY
    CREDITOR’S NAME              COLLATERAL                CLM AMT. OWED VALUE           RATE     TO BE PAID      PAYMENT
    Springleaf Fin.
    ____________________          2007 Camry
                                  ____________________ ___✔      11,262.02 12,880.80 5
                                                                 __________ _______ ____%
                                                                                          12,751.69
                                                                                          _________             212.53
                                                                                                                __________
    Advantage Fin.
    ____________________          NPM-Exempt
                                  ____________________    ✔
                                                          ___
                                                                 1,700.00 25.00     5
                                                                 __________ _______ ____%
                                                                                                  1,924.87
                                                                                          _________             32.08
                                                                                                                __________
    Fidelity National
    ____________________          NPM-Exempt
                                  ____________________ ___
                                                                 1,131.00 25.00     5
                                                                 __________ _______ ____% 28.31
                                                                                          _________
                                                                                                                Lump Sum
                                                                                                                __________
    Consumer Credit (1)
    ____________________          NPM-Exempt
                                  ____________________ ___       __________     5
                                                                 924.00 _______ ____%
                                                                               25.00  28.31
                                                                                      _________
                                                                                                                Lump Sum
                                                                                                                __________
    Consumer Credit (2)
    ____________________          NPM-Junior
                                  ____________________ ___✔ __________
                                                              624.00 _______   5
                                                                       25.00 ____% 706.54
                                                                                   _________                    11.78
                                                                                                                __________
    First Heritage
    ____________________          NPM-Exempt
                                  ____________________    ✔ __________
                                                          ___
                                                              3,003.85 _______ 5
                                                                       25.00 ____% 3,401.18
                                                                                   _________                    56.69
                                                                                                                __________
*A* First Metropolitan NPM-Exempt                         ✔ 1,343.90 25.00 5       1,521.66                      25.36
    *The column for “910 CLM” applies to both motor vehicles and “any other thing of value” as used in the “hanging paragraph”
    of 11 U.S.C. § 1325

    SPECIAL CLAIMANTS including, but not limited to, co-signed debts, abandonment of collateral, direct payments by Debtor,
    etc. For all abandoned collateral Debtor will pay $0.00 on the secured portion of the debt. Where the proposal is for
    payment, creditor must file a proof of claim to receive proposed payment.

    CREDITOR’S NAME_____ COLLATERAL OR TYPE OF DEBT_               APPROX. AMT. OWED__        PROPOSAL TO BE PAID__

    _____________________ ___________________________              ___________________        _____________________

    _____________________ ___________________________              ___________________        _____________________

    _____________________ ___________________________              ___________________        _____________________

    _____________________ ___________________________ ____________________                    _______________________

    STUDENT LOANS which are not subject to discharge pursuant to 11 U.S.C. §§ 523(a)(8) and 1328(c) are as follows (such
    debts shall no be included in the general unsecured total):

    CREDITOR’S NAME _____ APPROX. AMT. OWED_________ CONTRACTUAL MO. PMT. PROPOSED TREATMENT___

    _____________________ ___________________________              ___________________        _______________________

    _____________________ ___________________________              ___________________        _______________________

    _____________________ ___________________________              ___________________        _______________________

    _____________________ ___________________________              ___________________        _______________________

    SPECIAL PROVISIONS which may apply to any or all payments to be paid through the plan, including, but not limited to,
    adequate protection payments:
    The Individual plan payments to creditors shall constitute adequate protection payments to Creditors pursuant to this Court’s
    standing order.____________________________________________________________________________



                    /s/EHY
    Debtor’s Initials _________         Joint Debtor’s Initials _________
                                                                                                                     3
                                                                                     CHAPTER 13 PLAN, PAGE 2 OF ______
Case 14-13916-JDW           Doc 29     Filed 12/12/14 Entered 12/12/14 09:57:26                     Desc Main
                                       Document     Page 3 of 3

                                                     25,372.49
GENERAL UNSECURED CLAIMS total approximately $______________. Such claims must be timely filed and not
                                        _______ IN FULL (100%),._____
disallowed to receive payment as follows:                           0 __ % (percent) MINIMUM, or a total distribution
     0.00
of $______________,    with the Trustee to determine the percentage distribution. Those general unsecured claims not
timely filed shall be paid nothing, absent order of the Court.

**Debtors will pay 0 to all unsecured creditors whose claims are unenforceable because they are barred by
statute of limitations.
Total Attorney Fees Charged $_            3,200.00_        Pay administrative costs and debtor’s attorney fees
                                                           pursuant to Court Order and/or local rules.
                                               0.00
Attorney Fees Previously Paid $_____________________

                                            3,200.00
Attorney fees to be paid through the plan $___________

Name/Address/Phone # of Vehicle Insurance Co./Agent        Attorney for Debtor (Name/Address/Phone #/Email)
_____________________________________________
_____________________________________________              William C. Cunningham, 7964
____________________________________________               P.O. BOX 624
                                                           COLUMBUS, MS 39703
Telephone/Fax________________________________              Telephone 662-329-2455

DATE:_________________________
     December 12, 2014                    DEBTOR’S SIGNATURE                /s/Ethel Howard Young
                                                                            ____________________________________


                                          JOINT DEBTOR’S SIGNATURE ____________________________________

                                          ATTORNEY SIGNATURE                /s/William C. Cunningham
                                                                            ____________________________________




CHAPTER 13 PLAN CONTINUATION SHEET                                                             3
                                                                    CHAPTER 13 PLAN, PAGE 3 OF ______
